Case 8:21-bk-11710-ES      Doc 205 Filed 08/30/22 Entered 08/30/22 10:45:33              Desc
                            Main Document     Page 1 of 4

       Robert P. Goe – State Bar No. 137019
  1    Brandon J. Iskander – State Bar No. 300916
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  2    17701 Cowan Street, Suite 210
       Irvine, CA 92614
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  4
       Telephone: (949) 798-2460
  5    Facsimile: (949) 955-9437
  6    Attorneys for The Huntington Beach Gables Homeowners Association
  7
  8                            UNITED STATES BANKRUPTCY COURT

  9               CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 10
      In re:
 11                                                       Case No. 8:21-bk-11710-ES

 12   JAMIE LYNN GALLIAN,                                 Chapter 7 Proceeding

 13                                                       DECLARATION OF BRANDON J.
                                                          ISKANDER REGARDING DEBTOR’S
 14              Debtor.                                  FAILURE TO SET HEARING ON HER
                                                          AMENDED MOTION TO AVOID LIEN
 15                                                       UNDER 11 U.S.C. § 522(f) AS
                                                          REQUIRED BY LOCAL BANKRUPTCY
 16                                                       RULE 9013-1(o)

 17                                                       [DOCKET NO. 147]

 18
 19            TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY
 20   JUDGE, THE DEBTOR IN PRO PER, THE OFFICE OF THE UNITED STATES
 21   TRUSTEE, THE TRUSTEE AND HIS COUNSEL, AND ALL PARTIES IN INTEREST:
 22            The Huntington Beach Gables Homeowners Association (“HOA”) hereby files the
 23   Declaration of Brandon J. Iskander regarding Debtor’s failure to comply with the Local Bankruptcy
 24   Rules, specifically Local Bankruptcy Rule 9013-1(o)(4), which provides that she must set a hearing
 25   on her Amended Motion to Avoid Lien Under 11 U.S.C. § 522(f) (“Amended Motion”) for hearing
 26   within 14 days of the filing of the HOA’s Opposition to the same.
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Case 8:21-bk-11710-ES       Doc 205 Filed 08/30/22 Entered 08/30/22 10:45:33                 Desc
                             Main Document     Page 2 of 4


  1                          DECLARATION OF BRANDON J. ISKANDER
  2          I, Brandon J. Iskander, declare as follows:
  3          1.      I am an attorney duly admitted to practice before this Court. I am an associate of Goe
  4   Forsythe & Hodges LLP (the “Firm”), attorneys of record for the Huntington Beach Gables
  5   Homeowners Association. I am an individual above the age of 18 years and I have personal
  6   knowledge of the facts set forth herein. If called as a witness, I could and would competently testify
  7   thereto. I make this declaration in support of the HOA’s Declaration Regarding Debtor’s Failure to
  8   Set Hearing on her Amended Motion to Avoid Lien Under 11 U.S.C. § 522(f) As Required by Local
  9   Bankruptcy Rule 9013-1(o). All capitalized terms not otherwise defined herein shall have the
 10   meaning set forth in the Opposition.
 11          2.      Debtor filed the Amended Motion [Docket No. 147] on July 22, 2022 under Local
 12   Bankruptcy Rule 9013-1(o)(1).
 13          3.      On behalf of the HOA, the Firm filed an Opposition to the Amended Motion [Docket
 14   No. 178] (“Opposition”) on August 5, 2022 and served it on the Debtor through her counsel of
 15   record at the time, Bert Briones. (See Docket No. 172.) Mr. Briones since withdrew from the case
 16   on August 8, 2022 (See Docket No. 181).
 17          4.      It has been over 15 days since the Opposition was filed.
 18          5.      Local Bankruptcy Rule 9013-1(o)(4) provides that if the moving party fails to obtain
 19   a hearing date, the Court may deny the motion without prejudice, without further notice or hearing.
 20          6.      I am lodging an Order requesting that the Amended Motion be dismissed without
 21   prejudice based on Debtor’s failure to comply with Local Bankruptcy Rule 9013-1(o)
 22   contemporaneously with this Declaration.
 23          I declare under penalty of perjury under the laws of the United States of America that the
 24   foregoing is true and correct.
 25          Executed at Irvine, California.
 26
                                             /s/ Brandon J. Iskander
 27                                          Brandon J. Iskander
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Case 8:21-bk-11710-ES         Doc 205 Filed 08/30/22 Entered 08/30/22 10:45:33                      Desc
                               Main Document     Page 3 of 4


  1                             PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 17701 Cowan Street, Suite 210, Irvine, CA 92614
  3
      A true and correct copy of the foregoing document entitled (specify): DECLARATION OF BRANDON J.
  4   ISKANDER REGARDING DEBTOR’S FAILURE TO SET HEARING ON HER AMENDED MOTION TO
      AVOID LIEN UNDER 11 U.S.C. § 522(f) AS REQUIRED BY LOCAL BANKRUPTCY RULE 9013-1(o) will
  5   be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
      and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On August 30, 2022, I checked the CM/ECF docket for this bankruptcy case or
  8   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  9
                                                    Service information continued on attached page
 10
      2. SERVED BY UNITED STATES MAIL:
 11
      On (date) August 30, 2022, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 12   envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 13   document is filed.
 14    Michael D Poole                                          Janine Jasso
       Feldsott & Lee                                           PO Box 370161
 15    23161 Mill Creek Dr Ste 300                              El Paso, CA 79937
       Laguna Hills, CA 92653
 16                                                             Jamie Lynn Gallian
                                                                16222 Monterey Ln Unit 376
 17                                                             Huntington Beach, CA 92649

 18
                                                    Service information continued on attached page
 19
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 20   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
      August 30, 2022, I served the following persons and/or entities by personal delivery, overnight mail service,
 21   or (for those who consented in writing to such service method), by facsimile transmission and/or email as
      follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
 22   judge will be completed no later than 24 hours after the document is filed.

 23
             The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 24           (document delivery is suspended due to COVID 19 protocols)

      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 25
        August 30, 2022                   Susan C. Stein                     /s/Susan C. Stein
 26
        Date                      Printed Name                               Signature
 27
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Case 8:21-bk-11710-ES          Doc 205 Filed 08/30/22 Entered 08/30/22 10:45:33                         Desc
                                Main Document     Page 4 of 4


  1   Mailing Information for Case 8:21-bk-11710-ES

  2   Electronic Mail Notice List
  3   The following is the list of parties who are currently on the list to receive email notice/service for this case.
  4
             Bert Briones bb@redhilllawgroup.com,
  5           helpdesk@redhilllawgroup.com;RedHillLawGroup@jubileebk.net
             Aaron E DE Leest adeleest@DanningGill.com,
  6           danninggill@gmail.com;adeleest@ecf.inforuptcy.com
             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
  7          Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
             D Edward Hays ehays@marshackhays.com,
  8           ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;
              cmendoza@ecf.courtdrive.com
  9          Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
             Eric P Israel eisrael@DanningGill.com,
 10           danninggill@gmail.com;eisrael@ecf.inforuptcy.com
             Laila Masud lmasud@marshackhays.com,
 11           lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
             Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
 12          Valerie Smith claims@recoverycorp.com
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
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